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                         IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                        Case No. 2:24-mj-01046 DAO

                 Plaintiff,
          vs.                                      MOTION TO UNSEAL
                                                   CRIMINAL CASE
  ANGEL EFREN MEZA-BELTRAN,

                 Defendants.                       Magistrate Judge Daphne A. Oberg



       The United States of America, by and through Ryan N. Holtan, Special Assistant United

States Attorney, hereby requests this Court to unseal the above-entitled matter on the basis that

the sealing no longer exists.

       THEREFORE, it is respectfully requested that the seal be lifted.

       Respectfully submitted this 7th day of January, 2025.

                                             TRINA A. HIGGINS
                                             United States Attorney


                                             /s/ Ryan N. Holtan
                                             RYAN N. HOLTAN
                                             Special Assistant United States Attorney
